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                                                                               United States District Court
                                                                                 Southern District of Texas

                                                                                    ENTERED
                      UNITED STATES DISTRICT COURT                                August 06, 2023
                       SOUTHERN DISTRICT OF TEXAS                                Nathan Ochsner, Clerk
                           HOUSTON DIVISION


TERRANCE HOLLIDAY,                         §
                                           §
       Plaintiff,                          §
                                           §
VS.                                        §   CIVIL ACTION NO. 4:23-CV-01158
                                           §
ALLSTATE BK REAL ESTATE                    §
HOLDINGS, LTD., et al.,                    §
                                           §
       Defendants.                         §


                             ORDER OF DISMISSAL

      On June 9, 2023, Parties filed a joint stipulation of dismissal with prejudice. The case is

therefore DISMISSED WITH PREJUDICE.

      IT IS SO ORDERED.

      SIGNED at Houston, Texas, on this the 4th of August, 2023.




                                    ____________________________________
                                    KEITH P. ELLISON
                                    UNITED STATES DISTRICT JUDGE
